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                              United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION


  UNITED STATES OF AMERICA                         §
                                                   §
  versus                                           § CRIMINAL ACTION NO. 4:20cr382
                                                   §
  BOULDEN, ET AL                                   §

                                 AMENDED PRE-TRIAL ORDER

        This case is set for Final Pre-Trial Conference on       January 9, 2023,       at 9:00 a.m.
  in Courtroom #105, United States Courthouse, 7940 Preston Road, Plano, Texas, at which time the
  case will either proceed to Jury Selection and Trial, or a date will be set for Jury Selection and
  Trial.
                     15                                         January 9, 2023        44934


        The following deadlines shall apply in this case.

        December 5, 2022           Any motion to suppress evidence shall be filed with the court.


        December 19, 2022          Any motion for continuance shall be filed with the court.


        December 30, 2022          Counsel for the Government shall deliver to counsel for
                                   Defendant(s) proposed jury instructions.


        December 19, 2022           Notification of a plea agreement shall be by email, hand delivery
         By 4:00 PM                or fax of a signed copy of the plea agreement and factual basis for
                                   the plea. Notification that the case will proceed to trial may be by
                                   email or telephone. After this deadline, no plea agreement will
                                   be honored by the court, and Defendant may not receive a
                                   points reduction for acceptance of responsibility.

        January 3, 2023            If the parties do not notify the Court of a plea agreement as
                                   provided above, defense counsel shall deliver to counsel for the
                                   Government any additional jury instructions desired by
                                   Defendant(s). If two or more Defendants are represented by
                                   separate counsel, their submission must be made jointly.

        January 3, 2023            Counsel for Defendant(s) and counsel for the Government shall
                                   confer to determine which jury instructions can be agreed upon.
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      January 3, 2023             Parties shall file any motions in limine and any other pretrial
                                  motions.


      January 3, 2023             Counsel for the Government and counsel for the Defendant(s) shall:



              A.   Jointly file agreed upon instructions;

              B.   Each file any proposed instructions that were not agreed upon, citing the authority
                   for each instruction. (Any party seeking to file proposed jury instructions after the
                   deadline may do so only with leave of Court.);

              C.   Each file any objections to the other’s proposed jury instructions. Objections must
                   be written, specific, cite authority, and include any alternate instructions counsel
          .        deem more appropriate;

              D.   Each file proposed voir dire questions;

              E.   If counsel believes that a written response to a particular motion in limine is
                   needed, file it as soon as possible;

              F.   Each provide the court a list of witnesses, a list of exhibits anticipated to be
                   introduced during trial, and a copy of each marked exhibit. All exhibits to be used
                   for trial shall be pre-marked numerically and in succession. (Groups of exhibits
                   pertaining to the same subject matter, such as photos of same scene, may, at
                   counsel’s discretion be numbered and lettered, i.e., 2a, 2b, 2c, etc.) Counsel shall
                   provide the Court the original and two (2) copies of each list and marked exhibit.

               So ORDERED and SIGNED this 24th day of August, 2022.




                                                                 ____________________________________
                                                                 SEAN D. JORDAN
                                                                 UNITED STATES DISTRICT JUDGE
